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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KRAFT FOODS GLOBAL, INC., THE
 KELLOGG COMPANY, GENERAL                        )
 MILLS, INC., and NESTLÉ USA, INC.,              )
                                                 )
        Plaintiffs,                              )      No. 1:11-cv-08808
                                                 )
                v.                               )      Judge Steven C. Seeger
                                                 )
 UNITED EGG PRODUCERS, INC.,                     )
 UNITED STATES EGG MARKETERS,                    )
 INC., CAL-MAINE FOODS, INC.,                    )
 MICHAEL FOODS INC., and ROSE ACRE               )
 FARMS, INC.,                                    )
                                                 )
        Defendants.                              )


         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO
    EXCLUDE OR LIMIT TESTIMONY OF DR. MICHAEL BAYE ON DAMAGES

       Having lost at trial, Defendants now try to exclude Plaintiffs’ expert, Dr. Michael Baye,

from testifying at the damages phase. Their motion should be denied. Dr. Baye’s model fits the

facts of the case that was tried and resulted in a liability verdict against UEP, USEM, Cal-Maine,

and Rose Acre. Defendants’ arguments to the contrary misinterpret the jury’s verdict; are

unsupported by case law; or were already made and rejected in the MDL.

       Finally, although Defendants spill a lot of ink about exports and short-term measures,

Plaintiffs do not plan to introduce new expert opinions about these issues. Plaintiffs can and will

establish damages for exports and short-term measures through evidence that is and will be in

evidence.
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I.       Defendants’ Attack on Dr. Baye’s Model for Basing Overcharges on Nationwide Egg
         Production Should be Rejected.

         A. Dr. Baye’s Model Fits the Facts of the Case and the Jury’s Findings.

         As the jury found, UEP, the egg industry’s trade association, conspired with Cal-Maine

and Rose Acre, two of the largest egg producers in the country, to limit the nation’s egg supply by

multiple means, including restricting henhouse density and backfilling, as part of the UEP Certified

Program. 1 With UEP as the hub of the conspiracy, Defendants caused approximately 95% of the

nation’s egg producers to sign onto the Certified Program, which injured Plaintiffs by reducing the

U.S. egg supply and inflating egg product prices. 2

         The evidence introduced at trial showed UEP created and implemented the program; the

henhouse density requirements grew out of a plan by UEP’s economic consultant to use density

restrictions to restrict egg supply and raise prices industry-wide; and the backfilling ban was added

in 2005 to further limit the nation’s egg supply. 3 UEP used its United Voices newsletter as a

“bullhorn” to urge producers to sign on to the program, while also working behind the scenes to

force widespread adoption by convincing egg buyers to demand UEP Certified eggs. 4

         With respect to the producer defendants, the evidence showed (among other things) that

Cal-Maine executives were on UEP’s Board of Directors, held numerous key committee positions

within the UEP, and advocated and voted for the Certified Program because it understood that

imposing cage-density restrictions nationwide would reduce egg supply and inflate prices. 5 The

evidence also showed that Rose Acre executives were involved in UEP and understood that the

Certified Program was a supply management program. Rose Acre supported the Certified



1 See Verdict (Nov. 23, 2023).
2 Tr. 2984-2985.
3 Tr. 1951-1959, 1976-1977.
4 Plaintiffs’ Ex. 637, 102; Tr. 2035, 1281-1282, 1288-1289, 1313.
5 Tr. 1156-1157, 1202-1203.


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Program, complied with it, and pushed for the 100% rule so that its competitors like Michael Foods

would have to comply with the restrictions on all of their flocks. 6

       Consistent with Plaintiffs’ theory and the evidence that the conspirators intended to and

did restrict egg supply nationwide, Dr. Baye used a regression model to determine how the UEP

Certified Program’s henhouse density and backfilling restrictions impacted U.S. egg production,

and then calculated the resulting overcharge for every different egg product Plaintiffs purchased. 7

       Defendants claim Dr. Baye’s model does not fit the conspiracy because the jury

purportedly only found that four egg producers were in the conspiracy, while finding in response

to question #8 that not all participants in the UEP-certified program were not members of the

conspiracy. Thus, Defendants argue, damages must be based only on supply reductions at their

own facilities and not on the nationwide impact of the conspiracy. Defendants misread the verdict

and misapprehend the theory on which they were found liable.

       First, the jury did not find that only four egg producers were in the conspiracy; it simply

answered no to the question of whether every UEP-Certified egg producer was in the conspiracy. 8

Indeed, the jury’s finding that Michael Foods was not in the conspiracy meant the answer to

Question 8 had to be no—regardless of whether any other producers were co-conspirators.

       Second, whether other UEP certified program participants were knowing members of the

conspiracy is legally irrelevant. The theory on which Plaintiffs tried and won the case was that

Defendants devised a program intending to restrict egg supply industry-wide and persuaded 95%

of the industry to sign on. The Defendants’ purpose (including that of UEP, as manager and

supervisor of the Certified Program) was to encourage and facilitate broad acceptance of the




6 Tr. 4523-4524, 4477-4478.
7 Tr. 2586-2587.
8 Verdict (Nov. 23, 2023) (emphasis added).


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program, including by other egg producers, as well as by customers, in order to drive up prices.

The other egg producers did not need to be co-conspirators—that is, knowing participants in a

conspiracy to restrict nationwide supply—in order for the program to be successful. It was

irrelevant whether the absent egg producers knew that UEP’s or Rose Acre’s or Cal Maine’s goal

was to restrict nationwide supply. It is enough that UEP, Rose Acre, and Cal Maine conspired to

restrict supply and used the UEP certified program to accomplish that goal.

       Take a pyramid or Ponzi scheme as an example. In a pyramid scheme, the leaders of the

scheme persuade others to join, and use them as instrumentalities to effectuate the scheme. It is

irrelevant whether the other participants know the investment is part of a pyramid scheme—in fact,

most participants may not knowingly join a conspiracy simply by playing a part in the scheme.

Yet the leaders at the top, who are knowing members of the conspiracy, are liable for all resulting

harm, including harm caused by the actions of all participants or instrumentalities. The Seventh

Circuit regularly holds actors to account for conduct that was carried out by unknowing

participants who they mobilized into action. See, e.g., United States v. Randy, 81 F.3d 65, 68 (7th

Cir. 1996).

       Here, likewise, it is beside the point whether the other UEP-Certified producers knew or

understood that the program’s true purpose was to restrict egg production nationwide in order to

drive up prices. The jury found that the henhouse density and backfilling restrictions in the UEP

Certified Program were a product of Defendants’ conspiracy, and Defendants are legally

responsible for the harm the conspiracy caused regardless of what the other producers knew or

why they joined the program.

       B. Defendants’ Challenge to Dr. Baye is Untimely and Barred.

       At no point, including in his January 2015 expert report, has Dr. Baye ever stated that he

assumes every UEP Certified participant fits the legal definition of a co-conspirator. To the extent


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Defendants’ theory is that Dr. Baye should have isolated and excluded non-conspirators when

analyzing the impact of the certified program on egg supply, Defendants never filed a timely

Daubert motion challenging Dr. Baye on this basis.

       They did, however, file an untimely Daubert in the MDL proceedings, in which they made

the same argument they are making now. The Daubert deadline in the MDL was May 25, 2015,

but Defendants did not file their Daubert motion until August 2017, over two years after the

deadline had passed. Judge Pratter denied the motion because it was untimely. In re Processed

Egg Products, 2017 WL 517757 at *5 (E.D. Pa. 2017). Defendants’ arguments are of course even

more untimely now that another six years have passed. They should be rejected on that basis alone.

       C. In Addition to Being Barred, Defendants’ Position is Legally Unsupported.

       Defendants briefed this issue three times already, but have never cited any case law

supporting the position that they cannot be legally responsible for the nationwide supply

restrictions they conspired to put in place unless every egg producer who complied with those

restrictions was also a knowing member of their conspiracy. 9

       In the absence of supporting case law, Defendants rely on an out-of-context snippet from

a ruling in which Judge Pratter declined to certify a class of indirect purchaser plaintiffs (“IPPs”)

because their expert’s model failed to account for non-conspiring producers. Motion at 11. That

ruling is not applicable because Judge Pratter was analyzing predominance under Rule 23, and was




9 Indeed, the Third Circuit has already held that so long as Plaintiffs are only suing conspirators
and seeking damages for purchases from conspirators, they can rely on a theory that the conspiracy
raised the prices of all eggs and egg products. In re Processed Egg Products Antitrust Litig., 881
F.3d 262, 274 (3d Cir. 2018). The position Defendants now advance—that Plaintiffs cannot
recover overcharges based on a nationwide supply reduction but instead must sort the egg industry
into conspirators and non-conspirators and exclude non-conspirator eggs from any damage
analysis—is incompatible with that ruling.

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focused on whether there was an effective way to determine which putative class members bought

shell eggs from conspirators as opposed to non-conspirators. That is not an issue here.

       Defendants know they are mis-citing Judge Pratter’s ruling because they have done it

before, and Judge Pratter told them so. In their untimely 2017 Daubert motion as to Dr. Baye,

Defendants relied on that same quote about Dr. Steigert. Judge Pratter rejected their argument,

explaining:

       The defendants first point to a September 2015 ruling by this Court that held ‘the
       failure to account for non-conspiring producers and the failure to account for non-
       commodity eggs[] are both flaws undermining the reliability of Dr. Stiegert’s
       models.’ …. These supposed shortcomings in Dr. Baye’s analysis were present in
       the initial report, and present before the Daubert deadline. Moreover, the citation
       to the Court’s reasoning is inapposite, given that the Court was answering a
       different question: whether common issues predominate under the IPP class, not
       whether damages could be calculated writ large.

In re Processed Egg Products Antitrust Litig., 2017 WL 517757 at *5 (E.D. Pa. 2017) (emphasis

added; internal citations omitted). Judge Pratter’s quote from the IPP class certification ruling

provides no more support for Defendants’ argument now than it did the first time they tried it.

II.    The Finding of No Post-2008 Injury Does Not Undermine Dr. Baye’s Model.

       The Court should likewise reject Defendants’ contention that Dr. Baye’s model has to be

thrown out because the jury found no injury after 2008. Nothing about that finding undermines Dr.

Baye’s model. Even though Dr. Baye analyzed the impact of the UEP Certified Program through

2012, and showed a demonstrative illustrating the reduction in egg production relative to the but-

for world that included dates through 2012, his report also breaks down overcharges by year and

by plaintiff/vendor/product combination. Damage numbers for 2005-2008 have been available to

Defendants since January 2015. 10



10 Defendants argue that Plaintiffs’ damages must be cut off at September 2008, ECF 566 at 2, but
that is not what the verdict states. They also say the jury found no injury for the period ending
December 2008, id. at 1, but that is presumably a typo.

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        Defendants also contend that Dr. Baye’s whole model is invalid because 2009-2012 data

about the different variables that impact egg production was included in the regression. That does

not logically follow. As Dr. Baye explained, his model measured the impact of the restrictions in

the UEP Certified Program. His model did not assume that the UEP Certified Program was the

product of a conspiracy, in the legal sense—let alone one that ended on any particular date. 11 The

UEP Certified Program existed in 2009-2012, and the relationship between egg production and

variables such as grain prices were what they were in the 2009-2012 time period. Dr. Baye was

not required to pretend otherwise.

       Moreover, contrary to Defendants’ assertions, the jury did not find that the UEP Certified

Program had no effect on egg production after 2008. The jury simply found that Plaintiffs were

not injured after 2008, and that could have been for any number of reasons having nothing to do

with whether the UEP Certified Program had an effect on egg production (e.g., the jury could have

credited Defendants’ argument that the Plaintiffs wanted certified eggs in these later time periods

and were not entitled to recover after Defendants’ conspiracy became public in the Wall Street

Journal).

       Importantly, Defendants already made and lost this same argument in the MDL. One case

in the MDL was a class action brought by direct purchasers (the “DPPs”). The DPPs’ expert, Dr.

Rausser, calculated overcharges using a regression model that included data through December

2013. After certifying the DPP class, Judge Pratter cut off the class period at December 31, 2008.

In re Processed Egg Products Antitrust Litig., 2017 WL 2494221 at *2. Based on that ruling,

Defendants moved to decertify the DPP class, arguing that cutting off the class period at 2008

invalidated Dr. Rausser’s model because his regressions used post-2008 data. Id. at *4. Judge




11 Tr. 2983-2984, 2741.


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Pratter disagreed, explaining that “the UEP Certification Program continued through 2013 and

included the same types of instrumentalities as are alleged to have characterized the conspiracy

pre-2008.” Id. at *5. Thus, “[c]cutting off the class period in 2008 would not automatically

invalidate the usefulness of the post-2008 data.” Id. She also held that if there is a disagreement

over the models, “that question is best answered by a jury.” Id. The same holds true here.

III.    Dr. Baye will not Introduce Undisclosed Opinions.

        Finally, Defendants argue extensively that Dr. Baye should not be allowed to testify as to

new opinions about the price impact of exports or short-term slaughter, molt, and hatch reduction

measures during the damage phase. To the extent Defendants are suggesting that Dr. Baye

foreclosed the possibility of damages based on these measures, they are wrong. Although Dr. Baye

did not use an econometric model to calculate the price impact of exports, he used a different

technique to estimate their impact on price. 12 And he testified that although he could not say with

a degree of scientific certainty how much the plaintiffs overpaid as a result of these price increases,

“just as a matter of economics, these would have materially impacted domestic prices.” 13

        Dr. Baye likewise did not testify that the short-term slaughter, molt, and hatch reduction

programs had no price impact. Rather, he emphasized that an economist is not necessary to find

that slaughtering birds results in fewer birds. 14 He then explained that although it was not a way

to sustain price increases in the long run, “you might be able to have an early slaughter and lead

to some short-term increases in price if you coordinate those slaughters across everyone in the

industry.” Id. at 12-22. Cal-Maine’s Chairman Dolph Baker admitted at trial that there were

coordinated industry-wide slaughters. 15



12 Tr. 2591 -2593.
13 Id. at 2593.
14 Id. at 2656-2567.
15 Tr. 1222-1223.


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       In any event, Dr. Baye will not offer new opinions at trial. There is and will be ample

evidence in the record from which damages from exports and short-term measures can be

calculated —including UEP’s own admissions about the price impact of exports, the length of time

exports impacted prices, and the percentage of the industry that participated in short-term

measures.

                                       CONCLUSION

       For the foregoing reasons, Defendants’ motion, which misapprehends the jury verdict,

conflicts with the law, and rehashes untimely and already-rejected attacks on Dr. Baye’s damage

model, should be denied.

 November 26, 2023                                 Respectfully submitted,
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                                                   The Kellogg Company

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